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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                            4:12CR000170-2 SWW


ZACHARY DYLAN CORDELL


                                          ORDER

      On September 18, 2012, the Court entered an Order Setting Conditions of

Release. (Docket entry #63). Defendant was placed in thirty days of inpatient drug

treatment, followed with chemical-free living at Freedom House until the final

disposition of his federal charges. Id.

      Defendant has filed a Motion (docket entry #84) requesting permission to

live independently in Russellville, while continuing to participate in outpatient

drug treatment at Freedom House. He states that, since December 2012, he has

worked forty hours a week at a restaurant in Russellville, and that his employment

would allow him to rent housing. The Government does not object to Defendant’s

requested relief, and Defendant’s Pretrial Services Officer (“PTSO”) indicates that

Defendant has performed well in drug treatment. Finally, Defendant states that he
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is agreeable to the Government’s request that he be prohibited from travel to Heber

Springs, Arkansas.

      Under these circumstances, the Court will modify the September 18, 2012

Order Setting Conditions of Release. (Docket entry #63). Defendant is: (1)

permitted to reside independently in Russellville, Arkansas, subject to approval

from his PTSO; and (2) barred from travelling to Heber Springs, Arkansas, without

first obtaining approval from his PTSO. All other conditions of release, including

participation in outpatient drug treatment, shall remain in effect.

      IT IS THEREFORE ORDERED THAT Defendant’s Motion to Modify

Conditions of Pretrial Release (docket entry #84) is GRANTED.

      Dated this 29th day of May, 2013.



                                        ___________________________________
                                        UNITED STATES MAGISTRATE JUDGE




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